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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                               EASTERN DISTRICT OF CALIFORNIA
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        MARIA TORRES and MELCHOR                  )        CIV F F 02-6385 AWI LJO
11      TORRES, individually and as               )
        Adminstrators of the Estate of            )        Consolidated with CV F 03-5999
12      EVERARDO TORRES, and as                   )
        guardians ad litem for the brother of the )
13      Deceased, RAMON TORRES (a minor )                  ORDER TAKING MATTERS
        through his guardians ad litem, MARIA )            UNDER SUBMISSION
14      and MELCHOR TORRES) and                   )
        MELCHOR TORRES, JR.,                      )
15                                                )
                             Plaintiffs,          )
16             v.                                 )
                                                  )
17      CITY OF MADERA, MARCY                     )
        NORIEGA, individually and as a            )
18      member of the Madera Police               )
        Department, and DOES 1 through 50,        )
19      inclusive,                                )
                                                  )
20                           Defendants.          )
                                                  )
21      ____________________________________)
                                                  )
22      AND RELATED CONSOLIDATED                  )
        CASE                                      )
23      ____________________________________)
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25
            Taser International’s motions for summary judgment are pending in this action and are set
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     for hearing on Monday, April 25, 2005. The court has reviewed the moving papers and has
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     determined that this matter is suitable for decision without oral argument. Local Rule 78-230(h).
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 1          Therefore, IT IS HEREBY ORDERED that the previously set hearing date of April 25,
 2   2005, is VACATED, and the parties shall not appear at that time. As of April 25, 2005, the
 3   Court will take the matters under submission and will thereafter issue its decision.
 4   IT IS SO ORDERED.
 5   Dated:     April 20, 2005                          /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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